Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 1 of 16 PageID #: 1361




                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION



  UNITED STATES OF AMERICA,                  4:19-CR-40003-KES=6

                       Plaintiff,            RESPONSE TO DEFENDANT’S
                                             MOTION FOR COMPASSIONATE
      vs.                                    RELEASE

  AMANDA LEIGH WIEMAN,

                       Defendant.


       The United States of America, by and through Assistant United States

Attorney Stephanie Bengford, files this response to Defendant’s motion for

compassionate release.

                              FACTUAL BACKGROUND

       Wieman was sentenced on November 5, 2019, to 120 months

imprisonment for conspiracy to distribute a controlled substance. Docket 242.

Wieman’s     release      date      is   scheduled   for   February      1,     2028.

https://www.bop.gov/inmateloc/ (last checked August 24, 2020). Wieman has

served only 10% of her sentence as of July 27, 2020. Doc. 284 at 213. Wieman

is housed at the Pekin Federal Correctional Institution (FCI Pekin), located in

Pekin, Illinois. Id; https://www.bop.gov/locations/institutions/pek/. She is 32

years old. All visitations at this facility have been suspended until further notice.

Id.   To date there is one reported active COVID-19 inmate case, with one

recovered, and four reported employee cases at FCI Pekin where the employees

have recovered. https://www.bop.gov/coronavirus/ (last checked August 24,



                                                                              1|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 2 of 16 PageID #: 1362




2020). Wieman tested negative for COVID-19 and was put in quarantine but

was asymptomatic. Doc. 284 at 15, 23, 46, 167.

      Wieman claims she should be released based on COVID-19 risk factors,

coupled with her medical conditions including asthma, hypothyroidism, gastro-

esophageal reflux disease, ongoing issues with her ears, and endometriosis. Doc.

285 at 2. She also claims she has obesity, based on her Body Mass Index (BMI),

but her health problems does not list obesity. Id.; Doc. 284 at 1-2 & 178. Also,

her general adult medical exam on January 24, 2020, indicated, “Encounter for

general adult medical exam without abnormal finding.” Doc. 284 at 178.

      Wieman’s supplemental brief requests the Court reduce her sentence to

time served and that a period of home confinement as a condition of supervised

release would be a deprivation of her liberty despite the fact that she has served

only about a year of her ten year sentence. Docket 284 at 15.1 As set forth

herein, the United States opposes the motion based upon the facts and

circumstances presented in this case.




1
 BOP has exclusive authority to determine where an inmate serves a custodial
sentence, including whether transfer from a secure facility to home confinement
is appropriate for a particular defendant. See Tapia v. United States, 564 U.S.
319, 331 (2011) (“When a court sentences a federal offender, the BOP has
plenary control, subject to statutory constraints, over [the place of imprisonment
and treatment programs].”); United States v. Ceballos, 671 F.3d 852, 855 (9th
Cir. 2011) (per curiam) (“The Bureau of Prisons has the statutory authority to
choose the locations where prisoners serve their sentence.”). Although this Court
may make a non-binding recommendation to BOP as to home confinement,
BOP’s designation decision “is not reviewable by any court.” 18 U.S.C. §§ 3621(b)
& 3624(c); see, e.g, United States v. Jones, 2020 WL 1814616, at *1 (N.D. Cal.
Apr. 10, 2020) (denying motion for compassionate release but recommending
BOP place defendant in home confinement).


                                                                         2|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 3 of 16 PageID #: 1363




                                      ARGUMENT

 I.   REDUCTION OF DEFENDANT’S SENTENCE IS NOT WARRANTED.

      A. Applicable law.

      “‘[A] judgment of conviction that includes [a sentence of imprisonment]

constitutes a final judgment’ and may not be modified by a district court except

in limited circumstances.” Dillon v. United States, 560 U.S. 817, 825 (2010). As

the Supreme Court has recognized, finality is an important attribute of criminal

judgments, and one “essential to the operation of our criminal justice system.”

Teague v. Lane, 489 U.S. 288, 309 (1989) (plurality opinion). Consistent with

that principle of finality, Section 3582(c) provides that a court generally “may not

modify a term of imprisonment once it has been imposed,” 18 U.S.C. § 3582(c),

except in three circumstances: (1) upon a motion for reduction in sentence under

18 U.S.C. § 3582(c)(1)(A), such as that presented by the defendant; (2) “to the

extent otherwise expressly permitted by statute or by Rule 35 of the Federal

Rules of Criminal Procedure,” 18 U.S.C. § 3582(c)(1)(B); and (3) where the

defendant was sentenced “based on” a retroactively lowered sentencing range,

18 U.S.C. § 3582(c)(2).

      The compassionate release statute provides, in pertinent part:

             The court may not modify a term of imprisonment once it has
      been imposed except that—
             (1) in any case—
             (A)    the court, upon motion of the Director of the Bureau of
      Prisons, or upon motion of the defendant after the defendant has
      fully exhausted all administrative rights to appeal a failure of the
      Bureau of Prisons to bring a motion on the defendant’s behalf or the
      lapse of 30 days from the receipt of such a request by the warden of
      the defendant’s facility, whichever is earlier, may reduce the term of
      imprisonment . . . .


                                                                           3|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 4 of 16 PageID #: 1364




18 U.S.C. § 3582(c)(1)(A).

      This Court may only reduce a sentence pursuant to 18 U.S.C. §

3582(c)(1)(A) if, “after considering the factors set forth in section 3553(a) to the

extent that they are applicable,” the Court “finds that” either “extraordinary and

compelling reasons warrant such a reduction,” or the defendant is at least 70

years old and has served at least 30 years in prison, “and that such a reduction

is consistent with applicable policy statements issued by the Sentencing

Commission.”2

      The    Sentencing   Commission     provided   explicit   examples   of   what

constitutes an “extraordinary and compelling circumstance”:

      (A)    Medical Condition of the Defendant—
      (i)    The defendant is suffering from a terminal illness (i.e., a serious and
      advanced illness with an end of life trajectory). A specific prognosis of life
      expectancy (i.e., a probability of death within a specific time period) is not
      required. Examples include metastatic solid-tumor cancer, amyotrophic
      lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

      (ii)   The defendant is—

      (I)    suffering from a serious physical or medical condition,

      (II)   suffering from a serious functional or cognitive impairment, or

      (III) experiencing deteriorating physical or mental health because of the
      aging process,

      that substantially diminishes the ability of the defendant to provide self-

2 Congress explicitly gave authority to the Sentencing Commission to further
describe what conduct would authorize a court to order a compassionate release.
Specifically, 28 U.S.C. § 994(t) states that the Sentencing Commission “shall
describe what should be considered extraordinary and compelling reasons for
sentence reduction” under § 3582(c)(1)(A), “including the criteria to be applied
and a list of specific examples.” The statute also states that “[r]ehabilitation of
the defendant alone shall not be considered an extraordinary and compelling
reason.” 28 U.S.C. § 994(t).



                                                                           4|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 5 of 16 PageID #: 1365




       care within the environment of a correctional facility and from which he or
       she is not expected to recover.

       (B)   Age of the Defendant — The Defendant is at least 65 years old; (ii)
       is experiencing a serious deterioration in physical or mental health
       because of the ageing process; and (iii) has served at least 10 years or 75
       percent of his or her term of imprisonment; whichever is less.

       (C)   Family Circumstances. —

       (i)    The death or incapacitation of the caregiver of the defendant’s minor
       child or minor children.

       (ii)  The incapacitation of the defendant’s spouse or registered partner
       when the defendant would be the only available caregiver for the spouse
       or the registered partner.

       (D)   Other Reasons.—As determined by the Director of the Bureau of
       Prisons, there exists in the defendant’s case an extraordinary and
       compelling reason other than, or in combination with, the reasons
       described in subdivisions (A) through (C).

USSG § 1B1.13 cmt. n.1. Wieman argues she qualifies under subsection (A) or

(D).

       To qualify for compassionate release after having exhausted his or her

administrative remedies with the BOP, a defendant must be able to demonstrate

one of the listed reasons in note 1.     See United States v. Shields, 2019 WL

2645028, at *2 (N.D. Cal. June 27, 2019). The defendant bears the burden to

show special circumstances meeting the high bar set by Congress and the

Sentencing Commission for compassionate release to be granted. See United

States v. Greenhut, 2020 WL 509385, at *1 (C.D. Cal. Jan. 31, 2020) (holding

defendant bears the burden of establishing entitlement to sentencing reduction).

       For that reason, to state a cognizable basis for a sentence reduction based

on a medical condition, a defendant first must establish that her condition falls

within one of the categories listed in the policy statement. Those categories


                                                                          5|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 6 of 16 PageID #: 1366




include, as relevant here,3 (i) any terminal illness, and (ii) any “serious physical

or medical condition . . . that substantially diminishes the ability of the

defendant to provide self-care within the environment of a correctional facility

and from which he or she is not expected to recover.” USSG § 1B1.13 cmt.

n.1(A).    If a defendant’s medical condition does not fall within one of the

categories specified in the application note (and no other part of the application

note applies), her motion must be denied.

      A defendant who cannot show she is has a medical condition that puts her

at risk for COVID-19 cannot demonstrate “extraordinary and compelling”

circumstances. United States v. Bradley, 2020 WL 3036362, at *2-3 (D.S.D.

June 5, 2020). “COVID-19 appears to pose a particular risk for individuals with

certain existing health conditions.” Id. (citing Groups at Higher Risk for Severe

Illness,      Centers     for      Disease       Control      and       Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-

at-higher-risk.html). Indeed, before the outbreak of COVID-19, district courts

addressing § 3582(c)(1)(A) claims routinely noted: “To be faithful to the statutory

language requiring ‘extraordinary and compelling reasons,’ it is not enough that

Defendant suffers from . . . chronic conditions that [she] is not expected to

recover from.    Chronic conditions that can be managed in prison are not a

sufficient basis for compassionate release.” United States v. Ayon-Nunez, 2020

WL 704785, at *2–3 (E.D. Cal. Feb. 12, 2020) (rejecting a claim for compassionate


3 Wieman is not relying on her age or family circumstances, meaning those
provisions (including Application Note 1(B) or 1(C)) are not applicable as well as
Note 1(A)(iii).


                                                                           6|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 7 of 16 PageID #: 1367




release from a defendant suffering from severe back injuries and epilepsy)

(quoting United States v. Weidenhamer, 2019 WL 6050264, at *5 (D. Ariz. Nov.

8, 2019)).   Compassionate release is a “rare” and “extraordinary” event, and

courts routinely denied such claims before the current national emergency.

United States v. Mangarella, 2020 WL 1291835, at *2–3 (W.D.N.C. Mar. 16,

2020).

      The existence of the COVID-19 pandemic, which poses a general threat to

every non-immune person in the country, does not by itself fall into these

categories and therefore could not alone provide a basis for a sentence reduction.

See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (holding “the mere

existence of COVID-19 in society and the possibility that it may spread to a

particular prison alone cannot independently justify compassionate release”).

The categories encompass specific serious medical conditions afflicting an

individual inmate, not generalized threats to the entire population.

      This Court may only reduce a sentence pursuant to 18 U.S.C. §

3582(c)(1)(A) if, “after considering the factors set forth in section 3553(a) to the

extent that they are applicable,” the Court “finds that” either “extraordinary and

compelling reasons warrant such a reduction,” or the defendant is at least 70

years old and has served at least 30 years in prison, “and that such a reduction

is consistent with applicable policy statements issued by the Sentencing

Commission.”




                                                                           7|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 8 of 16 PageID #: 1368




      B. Wieman’s Health Conditions.

      Obesity

      Obesity is listed as a condition placing a person at increased risk of severe

illness from COVID-19.       https://www.cdc.gov/coronavirus/2019-ncov/need-

extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavir

us%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html

(last accessed August 21, 2020) (noting BMI exceeding 30 is considered “obese”).

The Department of Justice has opined that obesity with a BMI over 30

constitutes an extraordinary and compelling reason for a sentence reduction

because the CDC has identified obesity on a list of conditions that, according to

current data, “are at increased risk of severe illness from COVID-19.”

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavir

us%2F2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html.

The CDC has two lists of conditions those that “are at increased risk” and those

that “might be at an increased risk.”        Id.   During the current COVID-19

pandemic, an inmate who presents with one of the risk factors on the list of

conditions that “are at increased risk of severe illness” according to the CDC, as

confirmed by medical records, and who is not expected to recover from that

condition,   presents   an   extraordinary   and    compelling   reason   allowing

compassionate release under the statute and guideline policy statement, even if



                                                                          8|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 9 of 16 PageID #: 1369




that condition in ordinary times would not allow compassionate release.            A

diagnosis of obesity with a BMI of 30 or higher, coupled with the risk of COVID-

19, is considered by DOJ guidance to present “a serious physical or medical

condition . . . that substantially diminishes the ability of the defendant to provide

self-care within the environment of a correctional facility and from which he or

she is not expected to recover,” U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I), in that the

inmate’s ability to provide self-care against serious injury or death as a result of

COVID-19 is substantially diminished, within the environment of a correctional

facility, by the chronic condition itself.

      However, Wieman has not met her burden to show she is obese. Wieman’s

only reference to her BMI in the medical records provided by BOP is from a

January 2020 general adult medical exam. Doc. 284 at 115, 178. The record

states, “(BMI ? 37)” in one locations and “Value 37” in another. Doc. 284 at 115.

However, no official diagnosis of obesity is contained in Wieman’s health

problems to definitively show she has been diagnosed as obese. Doc. 284 at 178.

In sum, Wieman has not met her burden to demonstrate compassionate release

is warranted based on obesity.        Greenhut, 2020 WL 509385, at *1 (noting

defendant bears burden to establish entitlement to sentence reduction). Even if

Wieman is considered obese, however, compassionate release is not warranted

after consideration of the § 3553(a) factors, as explained below.

      Asthma

      As to Wieman’s asthma, an x-ray of her lungs was done on or about

February 19, 2020. The findings indicate, “Lungs are clear No plural effusions.



                                                                           9|Page
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 10 of 16 PageID #: 1370




Bony elements are within normal limits for age. No acute osseous abnormality.”

Doc. 284 at 195 & 197. The impression indicates, “Lungs are clear. Heart size

is normal.” Id. at 195. When she was transported in October of 2019, she did

not receive any asthma medication for transport. Id. at 200. Post-COVID-19,

on July 20, 2020, she requests to see a doctor about her asthma. Id. at 17. The

comments on that date indicate: “Inmate has been seen multiple time for asthma

without significant findings. Inmate has been upset and complaining that she

was changed from home medication to formulary medication on arrival and

states it does not feel like it is working. Lung sounds have been clear on multiple

visits. Previously attempts at peak flow were met with very poor effort from

inmate.” Doc. 284 at 17. Post-COVID, on May 20, 2020, a subjective report of

shortness of breath was also made. Id. at 81. On March 30, 2020, another

subject complaint relating to her asthma was made. Id. at 87. Pre-COVID 19

lock down, on January 23, 2020, as to asthma, the notes indicate “well

controlled.” Id. at 109. She has been prescribed Albuterol inhalers, not for daily

use, but to prevent asthma attacks. See, e.g., id. at 171, 24 (showing recent

prescriptions). Her asthma has been diagnosed as under good control. Thus,

the medical records show Wieman’s asthma has been managed or controlled by

medical care and prescriptions.

      Her “Asthma” is stable, well controlled and does not meet the threshold of

“moderate to severe asthma” required by the CDC.        United States v. Khawaja,

2020 WL 1940848, at *4 (D.N.H. Apr. 22, 2020) (court holding CDC guidelines

regarding additional risk to the individual are if the individual has “moderate to



                                                                         10 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 11 of 16 PageID #: 1371




severe asthma”). In addition, Wieman’s asthma is well managed at her FCI. See

Ayon-Nunez, 2020 WL 704785, at *2–3. Her asthma does not meet the high

burden justifying release.

      Other Health Conditions

      Wieman specifically relies on her obesity and her asthma in arguing that

she has met extraordinary or compelling circumstances for release based upon

the risk of COVID-19.         Doc. 285 at 5, 8-10.     She generally mentions her

hypothyroidism, gastro-esophageal reflux disease, endometriosis pain, issues

with her ears, and mental health conditions without explaining how these

conditions fall within the CDC list of conditions which are at severe risk for

COVID-19. Doc. 285 at 9. These conditions are not included within either of

the CDC risk factor lists. Wieman has not met her burden that these conditions

amount to extraordinary or compelling circumstances justifying relief.

      Given the medical records and conditions of the Defendant, Defendant has

not met her burden that there are extraordinary or compelling circumstances

justifying relief under subsection (A)(i) or (A)(ii). Under subdivision (A)(i) or (ii),

Defendant must prove she is unable to provide self-care within the environment

of a correctional facility.    Defendant’s medical records do not support that

Defendant’s conditions make her unable to provide self-care within the

environment of a correctional facility. See generally Doc. 284; United States v.

Korn, 2020 WL 1808213 at *5 (W.D.N.Y. Apr. 9, 2020) (defendant can walk with

a cane, dress, bathe, eat and perform activities of daily living); Doc. 284 at 20

(Wieman walking with an upright and steady gait). In addition, she has not



                                                                            11 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 12 of 16 PageID #: 1372




established that she has been diagnosed with obesity which is one of the

conditions listed by the CDC which increases risk for severe illness.

      In addition, Defendant’s conditions coupled with COVID-19 do not meet

the catch-all provision. The Bureau of Prisons has made substantial changes to

its      operations,      detailed      on       its      website.              See

https://www.bop.gov/coronavirus/covid19_status.jsp (last accessed June 26,

2020). While potential continued exposure to the virus that causes COVID-19

is not something to take lightly, it simply does not “‘warrant the release of every

federal prisoner with health conditions that make them more susceptible to the

disease.’” United States v. Gold, No. 15 CR 330, 2020 WL 2197839, at *1 (N.D.

Ill. May 6, 2020); (quoting United States v. Miller, No. 18-CR-30034, 2020 WL

2093370, at *2 (C.D. Ill. May 1, 2020)). Here, Wieman, cannot meet her high

burden of extraordinary and compelling circumstances under the catch-all

provision as well.

      “General concerns about possible exposure to COVID-19 do not meet the

criteria for extraordinary and compelling reasons for a reduction in sentence set

forth in the Sentencing Commission’s policy statement on compassionate

release, U.S.S.G. §1B1.13.”    Eberhart, 2020 WL 1450745, at *2.        The Third

Circuit echoed this principle in an appeal by an inmate at heightened risk

because of his age (68) and health condition (Parkinson’s disease, diabetes, and

heart issues):

      We do not mean to minimize the risks that COVID-19 poses in the
      federal prison system, particularly for inmates like Raia. But the
      mere existence of COVID-19 in society and the possibility that it
      may spread to a particular prison alone cannot independently


                                                                         12 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 13 of 16 PageID #: 1373




      justify compassionate release, especially considering BOP’s
      statutory role, and its extensive and professional efforts to curtail
      the virus’s spread. See generally Federal Bureau of Prisons,
      COVID-19     Action     Plan   (Mar.   13,    2020,     3:09    PM),
      https://www.bop.gov/resources/news/20200313_covid-19.jsp.

Raia, 954 F.3d at 957. The United States does not minimize the seriousness,

but Defendant must meet her burden for compassionate release and she has

failed to do so. While COVID-19 is undoubtedly serious, and the situation is

dynamic, Defendant has not met her burden to demonstrate compelling

circumstances warranting her immediate release.

      Finally, this Court may only reduce a sentence pursuant to 18 U.S.C. §

3582(c)(1)(A) if, “after considering the factors set forth in section 3553(a) to the

extent that they are applicable,” the Court “finds that” either “extraordinary and

compelling reasons warrant such a reduction,” or the defendant is at least 70

years old and has served at least 30 years in prison, “and that such a reduction

is consistent with applicable policy statements issued by the Sentencing

Commission.”      Defendant also cannot meet her burden that release is

appropriate under the § 3553(a) factors.

      B. Section 3553(a) Factors Weigh Against Defendant’s Release.

      Wieman’s request for a sentence reduction should be denied because the

factors pursuant to 18 U.S.C. § 3553(a) weigh strongly against her release. She

must demonstrate that she is not a danger to the safety of the community or

otherwise merits release under the § 3553(a) factors. Under the applicable policy

statement, this Court must deny a sentence reduction unless it determines the

defendant “is not a danger to the safety of any other person or to the community.”



                                                                         13 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 14 of 16 PageID #: 1374




USSG § 1B1.13(2). Additionally, this Court must consider the § 3553(a) factors,

as applicable, as part of its analysis.      See § 3582(c)(1)(A); United States v.

Chambliss, 948 F.3d 691, 694 (5th Cir. 2020).

         Wieman would pose a danger to public safety if released. Wieman’s crime

is a serious one.     History of continued narcotics activity is a danger to the

community. United States v. Zaragoza, 2008 WL 686825, at *3 (N.D. Cal. Mar.

11, 2008) (Spero, J.) (“In assessing danger, physical violence is not the only form

of danger contemplated by the statute. Danger to the community can be in the

form of continued narcotics activity or even encompass pecuniary or economic

harm.”). This Court should deny a sentence reduction on the basis of the §

3553(a) factors and that she is a danger to the community.

         The remaining § 3553(a) factors strongly disfavor a sentence reduction.

The Court imposed its sentence, and it reflects the seriousness of the offense.

Requiring Wieman to serve the full sentence imposed promotes respect for the

law, and provides just punishment for the offense. As of the end of July, Wieman

has served only 10% of her sentence. The nature of the crime does not warrant

an additional reduction. A reduction to only 10% of the original sentence would

not be a deterrent and would create a disparity in sentencing as to other similarly

situated individuals.       Accordingly, in light of the totality of relevant

circumstances, this Court should deny the motion for a sentence reduction.

   II.      IF THIS COURT MODIFIES DEFENDANT’S SENTENCE, IT SHOULD
            IMPOSE SUPERVISED RELEASE WITH A CONDITION OF HOME
            CONFINEMENT FOR THE DURATION OF THE TERM OF
            IMPRISONMENT AND OTHER SPECIFIED CONDITIONS.

         If the Court is inclined to grant Wieman’s motion for compassionate


                                                                         14 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 15 of 16 PageID #: 1375




release, this Court should substitute a term of probation or supervised release

with a condition of home confinement for the duration of Wieman’s current

sentence of imprisonment.     The government submits that releasing Wieman

outright would not appropriately re-balance the § 3553 factors of this case,

particularly given that the present conditions caused by the pandemic are likely

impermanent—public reporting indicates that various medical professionals

globally are in the process of developing a vaccine and researching other methods

of   combatting    the   disease   in   the     coming   months.       See,     e.g.,

https://www.nih.gov/news-events/news-releases/nih-clinical-trial-

investigational-vaccine-covid-19-begins (last accessed May 15, 2020). In order

to minimize risks to public health, the government also respectfully requests that

(1) if it orders release, any order provide release only after Defendant’s release

and travel plans are in place, and (2) set any release 14 days from the date of its

order to accommodate BOP’s ability to quarantine Wieman prior to her release

to protect the community from potential further spread.




                                              RONALD A. PARSONS, JR.
                                              United States Attorney

                                              /s/ Stephanie C. Bengford
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                                                                         15 | P a g e
Case 4:19-cr-40003-KES Document 288 Filed 08/24/20 Page 16 of 16 PageID #: 1376




                         CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on August 24, 2020, a true and
correct copy of the foregoing Response to Motion for Compassionate Release was
served upon defendant as follows:
      Molly Quinn - CMECF


                                    /s/ Stephanie Bengford

                                    STEPHANIE BENGFORD
                                    Assistant United States Attorney




                                                                       16 | P a g e
